                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE



 UNITED STATES OF AMERICA                                )
                                                         )
 v.                                                      )      No. 3:05-CR-97
                                                         )      (Phillips)
 HEATHER NATASHA WHITT                                   )



                              MEMORANDUM AND ORDER



               This matter is before the court on the defendant’s pro se motion to terminate

 supervised release [Doc. 66].



               Defendant pled guilty to conspiracy to distribute and possession with intent

 to distribute cocaine base in violation of 21 U.S.C. § 841. On January 17, 2006, the

 defendant was sentenced to sixty months imprisonment, followed by five years of

 supervised release. Defendant states that she was released from the Bureau of Prisons

 six months early, after completing the Residential Drug Program. She has completed half

 of her term of supervised release.



               The probation officer assigned to defendant’s case has indicated that

 defendant has adhered to all conditions of supervision, has maintained a stable residence

 and employment history, and is currently taking college courses. Defendant has never

 tested positive for illicit drugs and has performed well while on supervision. Based on her



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 performance, her probation officer has no objection to the defendant’s request for early

 termination. The United States has informed the court that in light of defendant’s good

 conduct while on release, the government has no objection to early termination of

 supervised release.



              Defendant moves for early termination of supervised release pursuant to 18

 U.S.C. § 3583(e) which provides:

              The court may, after considering the factors set forth in section
              3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4) (a)(5), (a)(6),
              and (a)(7) –

              (1) terminate a term of supervised release and discharge the
              defendant released at any time after the expiration of one year
              of supervised release, pursuant to the provisions of the Federal
              Rules of Criminal Procedure relating to the modification of
              probation, if it is satisfied that such action is warranted by the
              conduct of the defendant released and the interest of justice.

 18 U.S.C. § 3583(e)(1).



              After carefully considering the requirements of the statute, the court finds that

 the relevant portions of 18 U.S.C. § 3553(a) support an early termination of defendant’s

 supervised release. In support of this determination, the court notes that defendant has

 completed more than two years of her term of supervised release and that defendant is in

 compliance with the conditions of her release. The court also notes that defendant appears

 to be drug-free and has not experienced any confrontation with law enforcement.

 Accordingly, because the requirements of 18 U.S.C. § 3583(e)(1) has been satisfied and


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 in light of the lack of opposition by the government and no objection by the probation

 officer, the court finds defendant’s motion for early termination of supervised release is

 well-taken, and it is hereby GRANTED. The defendant’s term of supervised release is

 TERMINATED.



              IT IS SO ORDERED.



                                          ENTER:


                                                 s/ Thomas W. Phillips
                                               United States District Judge




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